              Case 21-12558-amc                        Doc         Filed 07/07/25 Entered 07/07/25 06:56:53                                 Desc Main
   Fill in this information to identify the case:                  Document      Page 1 of 7
Debtor 1                 Valerie Oneil
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        Eastern District of Pennsylvania
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             2112558
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                      12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                             2­1
                                                                                                   Court claim no. (if known): _______________________
 Deutsche Bank National Trust Company, as Trustee for ABFC 2005­WF1 Trust, ABFC Asset­
 Backed Certificates, Series 2005­WF1


                                                                                                   Date of payment change:
                                                                                                   Must be at least 21 days after date
                                                                                                   of this notice                            08/01/2025
                                                                                                                                             _____________


                                                                                                  New total payment:
                                                                                                                                             322.44
                                                                                                                                            $________________
                                                                                                  Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      5 ____
                                                                    ____ 0 ____
                                                                            4 ____
                                                                                3

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

             No
            ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
            
                for the change. If a statement is not attached, explain why:



                                           947.97
                Current escrow payment: $ _________________                                                                       169.83
                                                                                                            New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
            
            ✔ No
             Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                Current interest rate: __________________%                                      New interest rate: __________________%

               Current principal and interest payment: $ __________________                     New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
              ✔ No
              
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
               Reason for change:



                      Current mortgage payment: $ _________________                                New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 1
            Valerie Oneil                                                                        2112558
      Case 21-12558-amc             Doc Filed        07/07/25 Entered 07/07/25
            ________________________________________________________
      Debtor 1
            First Name    Middle Name        Last Name
                                                                          Case number (if06:56:53         Desc Main
                                                                                         known) ______________________

                                            Document           Page 2 of 7
 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

     I am the creditor.
     I am the creditor’s authorized agent.
    ✔


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Mavis B. Evans
      ______________________________________________________________
      Signature
                                                                                      07/07/2025
                                                                                Date _______________




 Print:______________________________________________________________
        Evans, Mavis B.                                                          VP of Loan Documentation
                                                                                ____________________________________________________________
        First Name            Middle Name             Last Name                 Title


 Company Wells Fargo Bank, N.A.
         ____________________________________________________________

 Address    MAC N9286-01Y
            _____________________________________________________________
            Number                  Street

            P.O. Box 1629
            _____________________________________________________________
            Address 2

             Minneapolis                             MN      55440-9790
            _____________________________________________________________
              City                                      State        ZIP Code



                     800-274-7025                                                NoticeofPaymentChangeInquiries@wellsfargo.com
 Contact phone _________________________                                        ____________________________________________________________
                                                                                Email




Official Form 410S1                                     Notice of Mortgage Payment Change                                              page 2
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                                                 Document
                     UNITED STATES BANKRUPTCY COURT            Page 3 of 7

                                                  Eastern District of Pennsylvania


                                                   Chapter 13 No. 2112558
                                                   Judge: Ashely M. Chan

In re:
Valerie Oneil
                                          Debtor(s).

                                          CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before July 08, 2025 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                            By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                    Valerie Oneil
                                    518 East Queen Lane

                                    Philadelphia PA 19144



                                   By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                    N/A




Debtor’s Attorney:                  By Court's CM/ECF system registered email address
                                    MICHAEL A. CIBIK
                                    Cibik Law, P.C.
                                    1500 Walnut Street Suite 900

                                    Philadelphia PA 19102


                                    By Court's CM/ECF system registered email address
                                    N/A




Trustee:                            By Court's CM/ECF system registered email address
                                    SCOTT F. WATERMAN [Chapter 13]
                                    Chapter 13 Trustee
                                    2901 St. Lawrence Ave. Suite 100

                                    Reading PA 19606

                                                          _______________________________________________
                                                          /s/Mavis B. Evans
                                                          VP of Loan Documentation
                                                          Wells Fargo Bank, N.A.
          Case 21-12558-amc                 Doc        Filed 07/07/25 Entered   07/07/25 06:56:53 Desc Main
                                                                             Escrow Review Statement
                 Return Mail Operations                Document      Page 4 ofFor
                                                                               7 informational purposes only
                 PO Box 14547
                 Des Moines, IA 50306-4547                                              Statement Date:                                    July 2, 2025
                                                                                        Loan number:
                                                                                        Property address:
                                                                                            518 EAST QUEEN LANE
                                                                                            PHILADELPHIA PA 19144



                                                                                        Customer Service
                                                                                             Online                          Telephone
                                                                                             wellsfargo.com                  1-800-340-0473
          VALERIE ONEIL
                                                                                             Correspondence                  Hours of operation
          518 E QUEEN LN                                                                     PO Box 10335                    Mon - Fri 7 a.m. - 7 p.m. CT
          PHILADELPHIA PA 19144-1516                                                         Des Moines, IA 50306
                                                                                             To learn more, go to:
                                                                                             wellsfargo.com/escrow


                                                                                               We accept telecommunications relay service calls



If you are in an active bankruptcy case or have received a discharge under the United
States Bankruptcy Code, this statement is being sent to you for informational
purposes only. The informational summaries below are based on the terms of the
loan.

These amounts are governed by the terms of the loan unless otherwise reduced by an
order of the bankruptcy court. Because the amounts billed for the escrow items can
change over time, we review the escrow account at least once per year to ensure there
will be enough money to make these payments. Once the review is complete, we send
the escrow review statement, also known as the escrow account disclosure statement.      The escrow account has an overage of
Here’s what we found:
                                                                                                     $1,862.71
  • Required minimum balance: The escrow account balance is projected to be                  The refund check is attached
     above the required minimum balance. This means there is an overage.

  • Payments: As of the August 1, 2025 payment, the escrow portion of the
     payment decreases.



  Part 1 - Mortgage payment
   New Payment                   The new total payment will be $322.44
                                  Previous payment through New payment beginning with
                                  07/01/2025 payment date   the 08/01/2025 payment

 Principal and/or interest                   $152.61                  $152.61                        No action required
 Escrow payment                              $947.97                  $169.83
                                                                                         Starting August 1, 2025 the new payment amount
 Total payment amount                    $1,100.58                   $322.44             will be $322.44



                                                                                        Note: Since a bill pay or third-party payment service is
                                                                                        used, please remember to adjust the mortgage payment
                                                                                        amount.




                                                    See the following pages for more detail.




                                                                                                                            17-0001
                                                                          WELLS FARGO BANK NA                                0910
           Wells Fargo Home Mortgage                                                                   Check Number                     Mo Day Year
                                                                          WELLS FARGO BANK N.A
           P.O. Box 10335                                                 ESCROW DISB CLRNG/708                                          07       03   25
           Des Moines, IA 50306-0335                                      A75 L29




                   I D   I D      D
             VOID ** FOR DISPLAY ONLY ** VOID


                                I
    For payment of escrow to mortgagor                                                                                         Amount




                 O
    **ONE THOUSAND EIGHT HUNDRED SIXTY TWO AND 71/100 DOLLARS**                                                                           $1,862.71

 Pay to the
 order of



                V V    O      O
                   VALERIE ONEIL
                   518 E QUEEN LN




                             V
                   PHILADELPHIA               PA 19144-1516
                                                                                                    Authorized signature
                                                                                                                                             Page 2 of 3
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                                                                                             Loan Desc Main
                                                                                                  Number:
                                                      Document      Page 5 of 7
    Part 2 - Payment calculations
For the past review period, the amount of the escrow items was $2,038.00. For the coming year, we expect the amount paid from escrow to be
$2,038.00.

How was the escrow payment calculated?
To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the amounts by 12 payments to
determine the escrow amount.

The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up
through the date of the analysis.



Escrow comparison

                                                                                                                                       New monthly
                                  06/23 - 05/24 06/24 - 05/25           06/25 - 07/25    08/25 - 07/26
                                                                                                                      # of               escrow
                                    (Actual)      (Actual)                (Actual)        (Projected)
                                                                                                                     months              amount

Property taxes                              $0.00             $0.00             $0.00            $0.00        ÷         12       =            $0.00
Property insurance                      $6,501.00         $8,334.00         $2,038.00        $2,038.00        ÷         12       =          $169.83
Total taxes and insurance               $6,501.00         $8,334.00         $2,038.00        $2,038.00        ÷         12       =          $169.83
Escrow shortage                          $3,615.92         $1,286.56        $3,041.69            $0.00

Total escrow                            $10,116.92        $9,620.56         $5,079.69        $2,038.00                                      $169.83


Projected escrow account activity over the next 12 months
To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:


                                                                                                  (Calculated in Part 4 - Escrow account projections
Lowest projected escrow balance June 2026                                       $711.23           table)

Bankruptcy adjustment‡                                              +        $1,491.15

Minimum balance for the escrow account†                             -          $339.67


Escrow overage                                                      =        $1,862.71


‡
 This adjustment of $1,491.15, is the remaining amount of the pre-petition escrow shortage included in our proof of claim being paid through the
confirmed bankruptcy plan.
†
 The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance as allowed by state laws and/or the mortgage
contract. This account is set to a 2 month cash reserve amount. To calculate the cash reserve for the escrow account, we add the yearly escrow
payments, and divide by 6.
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                                                       Document      Page 6 of 7              Loan Number:



  Part 3 - Escrow account history
Escrow account activity from April 2025 to July 2025
                    Deposits to escrow                 Payments from escrow                                                     Escrow balance
   Date        Actual  Projected Difference        Actual   Projected Difference                Description           Actual       Projected Difference
Apr 2025                                                                                Starting Balance                 $92.94
Apr 2025         $137.81                              $0.00                                                             $230.75

May 2025        $792.41                               $0.00                                                           $1,023.16

Jun 2025        $947.97     $694.50     $253.47    $2,038.00       $0.00    $2,038.00 SAFECO INSURANCE COMPANY          -$66.87     $6,250.50     -$6,317.37

Jul 2025        $947.97     $694.50     $253.47       $0.00        $0.00       $0.00                                    $881.10     $6,945.00     -$6,063.90
(estimate)

Totals         $2,826.16   $1,389.00    $506.94    $2,038.00       $0.00    $2,038.00


If the activity contains (estimate), then "deposits to" or "payments from" escrow or both are estimated amounts that have not actually occurred.



  Part 4 - Escrow account projections
Escrow account projections from August 2025 to July 2026
                                       What we
                Payments to            expect to                                                              Projected escrow        Balance required
Date              escrow                pay out          Description                                              balance              in the account
Jul 2025                                                 Starting balance                                            $881.10                    $509.54
Aug 2025              $169.83                 $0.00                                                                $1,050.93                    $679.37
Sep 2025              $169.83                 $0.00                                                                 $1,220.76                   $849.20
Oct 2025              $169.83                 $0.00                                                                $1,390.59                $1,019.03
Nov 2025              $169.83                 $0.00                                                                 $1,560.42               $1,188.86
Dec 2025              $169.83                 $0.00                                                                 $1,730.25               $1,358.69
Jan 2026              $169.83                 $0.00                                                                $1,900.08                $1,528.52
Feb 2026              $169.83                 $0.00                                                                $2,069.91                $1,698.35
Mar 2026              $169.83                 $0.00                                                                $2,239.74                $1,868.18
Apr 2026              $169.83                 $0.00                                                                $2,409.57                $2,038.01
May 2026              $169.83                 $0.00                                                                 $2,579.40               $2,207.84
Jun 2026              $169.83             $2,038.00      SAFECO INSURANCE COMPANY                                    $711.23                    $339.67
Jul 2026              $169.83                 $0.00                                                                  $881.06                    $509.50

Totals              $2,037.96             $2,038.00




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